              Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 1 of 22




 1   MICHAEL R. REESE (Cal. SBN 206773)               GEORGE V. GRANADE (Cal. SBN 316050)
 2   mreese@reesellp.com                              ggranade@reesellp.com
     SUE J. NAM (Cal. SBN 206729)                     8484 Wilshire Boulevard, Suite 515
 3   snam@reesellp.com                                REESE LLP
     REESE LLP                                         Los Angeles, California 90211
 4   100 West 93rd Street, 16th Floor                 Telephone: (310) 393-0070
     New York, New York 10025
 5   Telephone: (212) 643-0500
 6
     CALEB MARKER (Cal. SBN 269721)             BRIAN C. GUDMUNDSON (to be admitted pro hac vice)
 7   caleb.marker@zimmreed.com                  brian.gudmundson@zimmreed.com
     ZIMMERMAN REED LLP                         RACHEL K. TACK (to be admitted pro hac vice)
 8   6420 Wilshire Blvd., Suite 1080            rachel.tack@zimmreed.com
     Los Angeles, California 90048              MICHAEL J. LAIRD (to be admitted pro hac vice)
 9   Telephone: (877) 500-8780                  michael.laird@zimmreed.com
                                                ZIMMERMAN REED LLP
10                                              1100 IDS Center
                                                80 South 8th Street
11                                              Minneapolis, Minnesota 55402
                                                Telephone: (612) 341-0400
12
     Attorneys For Plaintiff and the Proposed Class
13
14                                UNITED STATES DISTRICT COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
16                                         SAN JOSE DIVISION
17                                                      )
     JOSHUA KELLER, on behalf of himself and all        )   CASE NO.: 22-cv-6986
18   others similarly situated,                         )
                                                        )
19                  Plaintiff,                          )   COMPLAINT
                                                        )   CLASS ACTION
20      v.                                              )
                                                        )
21   CHEGG, INC.,                                       )   Jury Trial Demanded
                                                        )
22                  Defendant.                          )
                                                        )
23                                                      )
24
25
26
27
28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986
                 Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 2 of 22




 1          Plaintiff Joshua Keller (“Plaintiff”), by his undersigned counsel, files this Class Action

 2   Complaint on behalf of himself and a class of all similarly situated persons against Defendant Chegg,

 3   Inc. (“Chegg” or “Defendant”). Plaintiff bases the forgoing allegations upon personal information and

 4   belief, the investigation of counsel, and states the following:

 5                                              INTRODUCTION

 6          1.       Chegg markets and sells direct-to-student educational products and services.1 This

 7   includes renting textbooks, guiding customers in their search for scholarships, and offering online

 8   tutoring.2 Chegg claims it “strive[s] to improve the overall return on investment in education by helping

 9   students learn more in less time and at a lower cost.”3 The company also claims to bring “integrity to

10   [its] products, customers, work environment, and the community.”4 According to Chegg, the target

11   audience for its services and products are primarily high school and college students.

12          2.       Since approximately September 2107, Chegg experienced, at least, four data security

13   breaches: (1) September 2017; (2) April 2018; (3) April 2019; and (4) April 2020 (collectively the “Data

14   Breaches”).

15          3.       The first data breach occurred in September 2017, when multiple Chegg employees fell

16   for a phishing attack that allowed a hacker to gain access to employees’ direct deposit information.

17   Upon information and belief, this breach was limited to the exposure of employee data.

18          4.       Approximately seven months later, in April 2018, a former Chegg contractor used login

19   information the company shared with employees and contractors to access one of Chegg’s third-party

20   cloud databases, resulting in the exposure of millions of customers’ personal information. According to

21   the Federal Trade Commission (“FTC”), Chegg allowed employees and third-party contractors to access

22   Amazon-hosted storage with a single access key that provided full administrative privileges over all

23
24   1
       Multiple data breaches suggest ed tech company Chegg didn’t do its homework, alleges FTC, Leslie
25   Fair,    Federal    Trade      Commission,      Oct. 31,    2022:      https://www.ftc.gov/business-
     guidance/blog/2022/10/multiple-data-breaches-suggest-ed-tech-company-chegg-didnt-do-its-
26   homework-alleges-ftc (last visited Nov. 4, 2022).
     2
       Id.
27   3
       Id.
     4
28     Id.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                               1
                   Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 3 of 22




 1   information.5 The April 2018 data breach exposed the personal information of approximately forty (40)

 2   million customers. The exposed personal information included names, email addresses, passwords, and

 3   for certain users, sensitive scholarship information such as dates of birth, parents’ income range, sexual

 4   orientation, and disabilities. Upon information and belief, this breach exposed both consumer and

 5   employee data.

 6            5.       In September 2018, a threat intelligence vendor informed Chegg that a file containing

 7   some of this exfiltrated information was available in an online forum.6 Chegg reviewed the file as part

 8   of its own investigation, finding it held, among other things, approximately 25 million of the exfiltrated

 9   customers’ passwords, from the April 2018 breach, in plain text, meaning the threat actors had cracked

10   the hash for those passwords.7 Chegg required approximately 40 million Chegg platform users to reset

11   their passwords.8 Even after this, Chegg continued to store consumer personal information in plain text.9

12            6.       The third breach, in April 2019, was the result of another phishing attack, giving hackers

13   access to a Chegg executive’s email inbox, which contained personal information of Chegg users and

14   employees, including financial and medical data.10 Upon information and belief, this breach exposed

15   both consumer and employee data.

16            7.       And most recently, the fourth data breach in April 2020, exposed W-2 information,

17   including birth dates and Social Security numbers for approximately 700 current and former employees.
     11
18        Upon information and belief, this data breach was limited to the exposure of employee data.

19            8.       From September 2017 through April 2020, Chegg did not make reasonable modifications

20   to its data security, including an egregious failure to implement any phishing attack training for its

21   employees. It also did not implement a written data security policy until January 2021.

22
     5
       FTC schools edtech giant Chegg over ‘careless’ cybersecurity practices, Carly Page, Join
23   TechCrunch+, Nov. 1, 2022: https://techcrunch.com/2022/11/01/ftc-chegg-breaches-cybersecurity/,
24   (last visited Nov. 7, 2022).
     6
       In the Matter of CHEGG, INC., a corporation, (last visited, Nov. 7, 2022),
25   https://www.ftc.gov/system/files/ftc_gov/pdf/2023151-Chegg-Complaint.pdf.
     7
       Id.
26   8
       Id.
     9
       Id.
27   10
        Id.
     11
28      Id.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                  2
                 Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 4 of 22




 1          9.       On October 31, 2022, the FTC filed a complaint accusing Chegg of numerous

 2   cybersecurity lapses that resulted in the four data breach between 2017 and 2020.12 Upon information

 3   and belief, this was the first public notice of the breaches.

 4          10.      According to the FTC, these data breaches were the result of “poor data security

 5   practices, including the use of single login for all compromised databases, a lack of multi-factor

 6   authentication, the storing of all users’ and employee’s data in plaintext, and a failure to monitor

 7   networks for malicious activity.13 Indeed, Chegg did not have a written security policy until January

 8   2021.14 Failure to implement these basic data security practices violates standard practice and is wholly

 9   unreasonable.

10          11.      Plaintiff therefore brings this Class Action Complaint seeking relief for his injuries and

11   those of persons who were similarly impacted by the Data Breaches and Chegg’s inadequate data

12   security.

13                                               JURISDICTION

14          12.      This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. § 1332, as

15   amended by the Class Action Fairness Act of 2005. Subject matter jurisdiction is proper because: (1)

16   the amount in controversy in this class action exceeds five million dollars ($5,000,000), excluding

17   interest and costs; (2) there are more than 100 Class members; (3) at least one member of the Class is

18   diverse from the Defendants; and (4) the Defendant is not a government entity.

19          13.      This Court has general personal jurisdiction over Chegg because Chegg is headquartered

20   and operates its principal place of business in Santa Clara, California. Chegg has minimum contacts

21   with California because it is located there and conducts substantial business there, and Plaintiff’s claims

22   arise from Chegg’s conduct in California.

23          14.      This Court is the proper venue for this case pursuant to 28 U.S.C. § 1391(a) and (b)

24   because a substantial part of the events and omissions giving rise to Plaintiff’s claims occurred in

25   California and because Chegg conducts a substantial part of its business within this District.

26
     12
        FTC schools edtech giant Chegg over ‘careless’ cybersecurity practices, supra note 5.
27   13
        Id.
     14
28      Id.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                 3
                 Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 5 of 22




 1                                                   PARTIES

 2             15.    Plaintiff Joshua Keller is a resident of Hillsborough, California. He used Chegg’s

 3   services throughout his high school and college education, including for exam, homework, and project

 4   help. Plaintiff has been a Chegg customer for approximately the last six years. Plaintiff reasonably

 5   believes his data was compromised by the Chegg Data Breaches.               After these data breaches and

 6   specifically over the last two months, Plaintiff experienced identity theft and fraud, including multiple

 7   credit checks initiated on his behalf and a credit card issued in his name, both without his authorization

 8   or consent. Plaintiff has spent time and effort with his bank dealing with this credit card fraud. He also

 9   noticed an increase in spam calls and emails and spent time and effort changing multiple passwords to

10   his various subscriptions or accounts. Plaintiff reasonably believes that all of this, the identity theft and

11   fraud and the increase in spam, is a direct and proximate result of the Chegg Data Breaches, particularly

12   because this fraud all occurred after the Data Breach and Plaintiff does not reasonably believe it could

13   be related to any other event.

14             16.    Defendant Chegg is a Delaware limited liability company with its headquarters and

15   principal place of businesses in Santa Clara, California.

16                                                BACKGROUND

17   A.        Chegg Collects Sensitive Information from Users

18             17.    In providing its services and for employment, Chegg collects sensitive personal

19   information from customers. This information includes name, email address, username, password,

20   demographic, school, gender, age or birthdate, zip or postal code, photographs, information about

21   academic and work history, phone number, mailing address, and information about interests and

22   preferences.15

23             18.    If a user requests information about Chegg’s scholarship services, the user is directed to

24   update their profile. The additional information Chegg collects here includes a customer’s religious

25   denomination, heritage, date of birth, parents’ income range, sexual orientation, military affiliations,

26
27
     15
28        Privacy Policy, (last visited, Nov. 7, 2022), https://www.chegg.com/en-US/privacypolicy.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                  4
                 Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 6 of 22




 1   citizenships, disabilities, interests, and participation in clubs and sports (collectively, the “Scholarship

 2   Search Data”).16 This data is highly sensitive.

 3             19.   As another example, in connection with its online tutoring services, Chegg records videos

 4   of tutoring sessions that include Chegg users’ likeness, images, and voices. Again, this is highly

 5   sensitive information.

 6             20.   Chegg also collects information automatically when users use the services, including

 7   internet protocol (IP) address, user setting, MAC address, cookie identifies, mobile carrier mobile

 8   advertising and other unique identifies, details about users’ browser, operating system or device, location

 9   information, Internet or mobile service provider, pages that users visit before, during, and after using

10   the services, information about links users click, and other information about how users use Chegg’s

11   services.17

12             21.   Taken together, these paragraphs, collectively and independently identify “Sensitive

13   Information.”

14   B.        Chegg’s Inadequate Data Security Measures Exposed Customers’ Sensitive Information

15             22.   As part of its information technology infrastructure, Chegg uses a third-party service

16   provided by Amazon Web Services called the Simple Storage Service (“S3”). S3 is a scalable cloud

17   storage service that can be used to store and retrieve large amounts of data. The S3 stores data inside

18   virtual containers, called “buckets,” against which individual access controls can be applied. 18

19             23.   Chegg relies on S3 buckets to store a wide variety of files that contain customers’

20   sensitive personal information, including their names, passwords, dates of birth, and Scholarship Search

21   Data.19

22             24.   From at least 2017 to the 2020, Chegg has engaged in several practices that failed to

23   provide reasonable security to prevent unauthorized access to customers’ personal information. Among

24   other things, Chegg:

25
26   16
        Profile Info,(last visited, Nov. 7, 2022), https://www.chegg.com/my/profile.
     17
        Privacy Policy, supra note 7.
27   18
        In the Matter of CHEGG, INC., a corporation, supra note 6.
     19
28      Id.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                  5
                 Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 7 of 22



              a) failed to implement reasonable access controls to safeguard users’ personal information
 1               stored in S3 databases until at least October 2018. Specifically, Chegg:
 2                  i) failed to require employees and third-party contractors that access the S3 databases to
                       use distinct access keys, instead permitting employees and contractors to use a single
 3                     AWS access key that provided full administrative privileges over all data in the S3
                       databases (“AWS Root Credentials”);
 4
                    ii) failed to restrict access to systems based on employees’ or contractors’ job functions;
 5
                    iii) failed to require multi-factor authentication for account access to the S3 databases; and
 6
                    iv) failed to rotate access keys to the S3 databases;
 7
              b) stored users’ and employees’ personal information on Chegg’s network and databases,
 8               including S3 databases, in plain text, rather than encrypting the information;
 9            c) used outdated and unsecure cryptographic hash functions to protect users’ passwords;
10            d) failed to provide adequate guidance or training for employees or third-party contractors
                 regarding information security and safeguarding users’ and employees’ personal
11               information, including, but not limited to, failing to require employees to complete any data
                 security training;
12
              e) failed to develop, implement, or maintain adequate written organizational information
13               security standards, policies, procedures, or practices;
14            f) failed to have a policy, process, or procedure for inventorying and deleting users’ and
                 employees’ personal information stored on Chegg’s network after that information is no
15               longer necessary; and
16            g) failed to adequately monitor its networks and systems for unauthorized attempts to transfer
                 or exfiltrate users’ and employees’ personal information outside of Chegg’s network
17               boundaries.20
18   C.       Chegg’s Inadequate Data Security Caused Multiple Data Breaches

19            25.      Chegg’s failure to provide reasonable data security for the Sensitive Information it

20   collected from customers has led to the repeated exposure of that personal information.

21            26.      In approximately September 2017, Chegg employees fell for a phishing attack, giving

22   the threat actors access to employees’ direct deposit information. Prior to the hack, Chegg did not

23   require employees to complete any data security training, including identifying and appropriately

24   responding to phishing attacks; this failure contributed to the security incident.

25            27.      Seven months later, in April 2018, a former contractor accessed one of Chegg’s S3

26   databases using an AWS Root Credential. Although Amazon had provided public guidance to protect

27
     20
28        In the Matter of CHEGG, INC., a corporation, supra note 6.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                    6
               Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 8 of 22




 1   AWS Root Credentials “like you would your credit card numbers or any other sensitive secret” and that

 2   Amazon “strongly recommend[s] that you do not use the root user for your everyday tasks, even the

 3   administrative ones,” Chegg shared the AWS Root Credentials among its employees and even outside

 4   contractors.21    The former contractor exfiltrated a database containing personal information of

 5   approximately 40 million Chegg customers.

 6          28.       The exposed personal information included users’ email addresses, first and last names,

 7   passwords, religious denomination, heritage, date of birth, parents’ income range, sexual orientation,

 8   and disabilities. Chegg encrypted users’ passwords using an outdated function that had been criticized

 9   by experts for years prior to April 2018.22 Had Chegg employed reasonable access controls and

10   monitoring, it would have likely detected and/or stopped the attack more quickly.

11          29.       In approximately April 2019, a senior Chegg executive fell for a phishing attack, giving

12   a hacker access to the executive’s credentials to Chegg’s email platform and exposing personal

13   information about consumers and employees of Chegg. This executive’s email system was in a default

14   configuration state that allowed employees, as well as threat actors, to bypass Chegg’s multifactor

15   authentication requirement while accessing the email platform. The threat actor exploited this shortfall

16   and gained access to the executive’s email inbox, which contained the personal information of Chegg

17   users and employees, including their financial and medical information.23

18          30.       Had Chegg properly configured its systems, including requiring multifactor

19   authentication for employees to access their emails, this phishing attack, and the resulting exposure of

20   consumer Sensitive Information, could have been prevented.

21          31.       In addition, Chegg’s failure to require employees to complete any data security training,

22   including training to identify and respond to phishing attacks, contributed to the security incident.

23          32.       Most recently, in April 2020, Chegg’s senior employee responsible for payroll fell for a

24   phishing attack, giving the threat actor access to the employee’s credentials to Chegg’s payroll system.

25   The threat actor exfiltrated the W-2 information, including the birthdates and Social Security numbers,

26
     21
        In the Matter of CHEGG, INC., a corporation, supra note 6.
27   22
         Id.
     23
28       Id.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                7
                  Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 9 of 22




 1   of approximately 700 current and former employees. Despite Chegg employees falling for phishing

 2   attacks on at least two prior occasions, Chegg still did not require, in or before April 2020, its employees

 3   to complete any data security training, including identifying and appropriately responding to phishing

 4   attacks.24

 5   D.      Chegg Knew It Needed to Protect Customers’ Sensitive Information

 6           33.      Chegg knew the user data it collected and stored in connection with its services was

 7   highly sensitive.

 8           34.      From approximately March 2017 to January 2020, Chegg’s privacy policy included the

 9   following language: “Chegg takes commercially reasonable security measures to protect the Personal

10   Information submitted to us, both during transmission and once we receive it.”25 From January 2020 to

11   the present, Chegg’s privacy policy contained the following statement concerning that same personal

12   information: “We take steps to ensure that your information is treated securely and in accordance with

13   this Privacy Policy.”26 These statements indicate that Chegg was aware the sensitive and personal nature

14   of the user data it stored.

15           35.      Additionally, in a February 7, 2022 Press Release, Chegg included some “Forward

16   Looking Statements.”          Within those statements, Chegg mentioned service disruptions related to

17   cybersecurity and cyber-attacks twice throughout the statement, indicating that it was aware the potential

18   for such threats.27

19   E.      Plaintiff’s and the Class’s Sensitive Information Has Value.

20           36.      The personal, health, and financial information of Plaintiff and the Class is valuable,

21   intangible property. Indeed, it has market value to advertisers and cybercriminals seeking to obtain and

22   use that information and the public and the marketplace values maintaining the privacy and

23
24
     24
25      In the Matter of CHEGG, INC., a corporation, supra note 6.
     25
        Id.
26   26
        Id.
     27
          Chegg Investor Relations, (last visited Nov. 7, 2022), https://investor.chegg.com/Press-
27   Releases/press-release-details/2022/Chegg-Reports-2021-Financial-Results-and-Gives-2022-
28   Guidance/default.aspx.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                  8
              Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 10 of 22




 1   confidentiality of individuals’ Sensitive Information. Thus, Chegg was on notice of the need to

 2   implement reasonable data security measures.

 3          37.     Unlike financial information, like credit card and bank account numbers, the PHI and

 4   certain PII exfiltrated in the Data Breach cannot be easily changed. Dates of birth and social security

 5   numbers are given at birth and attach to a person for the duration of his or her life. For these reasons,

 6   these types of information are the most lucrative and valuable to hackers.28

 7          38.     Birth dates, Social Security numbers, addresses, employment information, income, and

 8   similar types of information can be used to open several credit accounts on an ongoing basis rather than

 9   exploiting just one account until it’s canceled.29

10          39.     In 2013, the Organization for Economic Cooperation and Development (“OECD”) even

11   published a paper entitled “Exploring the Economics of Personal Data: A Survey of Methodologies for

12   Measuring Monetary Value.”30 In this paper, the OECD measured prices demanded by companies

13   concerning user data derived from “various online data warehouses.”31

14          40.     OECD indicated that “[a]t the time of writing, the following elements of personal data

15   were available for various prices: USD 0.50 cents for an address, USD 2 [i.e., $2] for a date of birth,

16   USD 8 for a social security number (government ID number), USD 3 for a driver’s license number and

17   USD 35 for a military record. A combination of address, date of birth, social security number, credit

18   record and military is estimated to cost USD 55.”32

19          41.     Consumers and businesses also place a considerable value on maintaining the privacy

20   and confidentiality of their Sensitive Information. One 2002 study determined that U.S. consumers

21   highly value a website’s protection against improper access to their Sensitive Information, between

22
23
     28
        Calculating the Value of a Data Breach – What Are the Most Valuable Files to a Hacker? Donnellon
     McCarthy Enters, (last visited Nov. 7, 2022), https://www.dme.us.com/2020/07/21/calculating-the-
24   value-of-a-data-breach-what-are-the-most-valuable-files-to-a-hacker/.
     29
        Anthem hack: Personal data stolen sells for 10x Price of Stolen Credit Card Numbers, Tim
25   Greene, https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolensells-
     for-10x-price-of-stolen-credit-card-numbers.html (last visited Jan. 18, 2022).
     30
26      Exploring the Economics of Personal Data: A Survey of Methodologies for Measuring Monetary
     Value, OECD Digital Economy Papers, NO. 220 (Apr. 2, 2013),
27   https://www.oecdilibrary.org/docserver/5k486qtxldmq-en.pdf.
     31
        Id. at 25.
     32
28      Id.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                               9
              Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 11 of 22




 1   $11.33 and $16.58 per website.33 The study further concluded that to U.S. consumers, the collective

 2   “protection against error, improper access, and secondary use of personal information is worth between

 3   $30.49 and $44.62.34 This data is approximately twenty years old, and the dollar amounts would likely

 4   be exponentially higher today.

 5          42.     The FTC has also recognized that consumer data is a lucrative (and valuable) form of

 6   currency for businesses. In an FTC roundtable presentation, former Commissioner Pamela Jones

 7   Harbour underscored this point by reiterating that “most consumers cannot begin to comprehend the

 8   types and amount of information collected by businesses, or why their information may be commercially

 9   valuable.35 Data is currency.36

10          43.     When a data breach reveals Sensitive Information, it destroys the privacy and

11   confidentiality of that data. Not only does that upset consumer expectations and wishes, but it also

12   renders the data less valuable in the economy. Sensitive and personal “data has economic value” and

13   can be used to further “artificial intelligence tools as well as the creation of intelligence targeting

14   packages.” Indeed, the integrity of Sensitive Information is material to individual’s ability to prove their

15   identity, which is necessary for individuals to obtain mortgages, credit cards, business loans; to submit

16   tax returns; and to apply for a job.

17          44.     Consumers, likewise, exchange this type of information to businesses in exchange

18   for goods, services, access, or discounts.

19          45.     When this information is released to cybercriminals and placed on the dark web, then

20   individuals are less able to use that information to prove their identity because that information has been

21   exposed to others willing or able to falsify and steal others’ identities. Thus, the value of the breached

22   information is lessened and its usefulness impaired.

23
24   33
        11-Horn Hann, Kai-Lung Hui, et al, The Value of Online Information Privacy: Evidence from
25   the USA and Singapore, at 17. Marshall Sch. Bus., Univ. So. Cal. (Oct. 2002),
     https://www.comp.nus.edu.sg/~ipng/research/privacy.pdf (last visited Nov. 6, 2022).
     34
26      Id.
     35
        Statement of FTC Commissioner Pamela Jones Harbour—Remarks Before FTC Exploring
27   Privacy Roundtable, (Dec. 7, 2009) (last visited Nov. 7, 2022)
     https://www.ftc.gov/news-events/news/speeches/remarks-ftc-exploring-privacy-roundtable.
     36
28      Id.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                10
              Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 12 of 22




 1           46.     Chegg’s failure to provide reasonable data security for its users’ Sensitive Information

 2   has caused and is likely to continue to cause substantial injury, including but not limited to identity theft,

 3   fraud, out-of-pocket monetary losses, decreased value of personal information, and time and effort spent

 4   remedying or attempting to prevent injuries, to those individuals whose data was exposed in breaches.

 5                                           CLASS ALLEGATIONS

 6           47.     Plaintiff brings this action on behalf of himself and all other similarly situated Class

 7   members pursuant to Rule 23(a), (b)(2) and (b)(3) of the Federal Rules of Civil Procedure and seek

 8   certification of the following Nationwide Class:

 9           All individuals whose data was impacted or otherwise compromised by one of, or any
             combination of the four, Chegg’s Data Breaches.
10
11           48.     Excluded from the class is Chegg and its subsidiaries and affiliates; all persons who make

12   a timely election to be excluded from the class; government entities; and the judge to whom this case is

13   assigned and his/her immediate family and court staff.

14           49.     Plaintiff reserves the right to, after conducting discovery, modify, expand or amend the

15   above Class definition or to seek certification of a class or Classes defined differently than above before

16   any court determines whether certification is appropriate.

17           50.     Numerosity. Consistent with Rule 23(a)(1), the members of the Class are so numerous

18   and geographically dispersed that joinder of all Class members is impracticable. Plaintiff believes that

19   there are millions of members of the Class. The number of reportedly impacted individuals already

20   exceeds forty (40) million, and Plaintiff believes additional entities and persons may have been affected

21   by the Data Breaches. The precise number of class members, however, is unknown to Plaintiff. Class

22   members may be identified through objective means. Class members may be notified of the pendency

23   of this action by recognized, Court-approved notice dissemination methods, which may include U.S.

24   mail, electronic mail, internet postings, and/or published notice.

25           51.     Commonality and Predominance. Consistent with Fed. R. Civ. P. 23(a)(2) and with

26   23(b)(3)’s commonality and predominance requirements, this action involves common questions of law

27
28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                  11
              Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 13 of 22




 1   and fact which predominate over any questions affecting individual Class members. These common

 2   questions include, without limitation:
            a. Whether Chegg knew or should have known that its data environment and cybersecurity
 3              measures created a risk of a data breach;
 4           b. Whether Chegg controlled and took responsibility for protecting Plaintiff’s and the Class’s
                data when solicited that data, collected it, and stored it on its servers;
 5
             c. Whether Chegg’s security measures were reasonable considering the FTC data security
 6              recommendations, state laws and guidelines, industry standards, and common
                recommendations made by data security experts;
 7
             d. Whether Chegg owed Plaintiff and the Class a duty to implement reasonable security
 8              measures;
 9           e. Whether Chegg’s failure to adequately secure Plaintiff’s and the Class’s data constitutes a
                breach of its duty to institute reasonable security measures;
10
             f. Whether Chegg’s failure to implement reasonable data security measures allowed the breach
11              of its data systems to occur and caused the theft of Plaintiff’s and the Class’s data;
12           g. Whether reasonable security measures known and recommended by the data security
                community could have prevented the breach;
13
             h. Whether Plaintiff and the Class were injured and suffered damages or other losses because
14              of Chegg’s failure to reasonably protect its data systems; and
15           i. Whether Plaintiff and the Class are entitled to relief.
16           52.     Typicality. Consistent with Fed. R. Civ. P. 23(a)(3), Plaintiff is a typical member of the

17   Class. Plaintiff and the members of the Class are persons whose provided data to Chegg, whose data

18   resided on Chegg’s servers, and whose personally identifying information was exposed in Chegg’s Data

19   Breaches. Plaintiff’s injuries are like other class members and Plaintiff seeks relief consistent with the

20   relief due to the Class.

21           53.     Adequacy.     Consistent with Fed. R. Civ. P. 23(a)(4), Plaintiff is an adequate

22   representative of the Class because Plaintiff is a member of the Class and is committed to pursuing this

23   matter against Chegg to obtain relief for himself and for the Class. Plaintiff has no conflicts of interest

24   with the Class. Plaintiff has also retained counsel competent and experienced in complex class action

25   litigation of this type, having previously litigated data breach cases. Plaintiff intends to vigorously

26   prosecute this case and will fairly and adequately protect the Class’s interests.

27
28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                12
               Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 14 of 22




 1           54.     Superiority. Consistent with Fed. R. Civ. P 23(b)(3), class action litigation is superior

 2   to any other available means for the fair and efficient adjudication of this controversy. Individual

 3   litigation by each Class member would strain the court system because of the numerous members of the

 4   Class. Individual litigation creates the potential for inconsistent or contradictory judgments and

 5   increases the delay and expense to all parties and the court system. By contrast, the class action device

 6   presents far fewer management difficulties and provides the benefits of a single adjudication, economies

 7   of scale, and comprehensive supervision by a single court. A class action would also permit customers

 8   to recover even if their damages are small as compared to the burden and expense of litigation, a

 9   quintessential purpose of the class action mechanism.

10           55.     Injunctive and Declaratory Relief.         Consistent with Fed. R. Civ. P. 23(b)(2),

11   Defendant, through its uniform conduct, acted or refused to act on grounds generally applicable to the

12   Class as a whole, making injunctive and declaratory relief appropriate to the class as a whole.

13                                              LEGAL CLAIMS

14                                                  COUNT I

15                                                  Negligence

16           56.     Plaintiff repeats and re-alleges the allegations contained in every preceding paragraph as

17   if fully set forth herein.

18           57.     Chegg owed a duty to Plaintiff and the members of the Class to take reasonable care in

19   managing and protecting the sensitive data it solicited from Plaintiff and the Class and managed and

20   stored. This duty arises from multiple sources.

21           58.     Chegg owed a common law duty to Plaintiff and the Class to implement reasonable data

22   security measures because it was foreseeable that hackers would target Chegg’s data systems and servers

23   containing Plaintiff’s and the Class’s sensitive data and that, should a breach occur, Plaintiff and the

24   Class would be harmed. Chegg alone controlled its technology, infrastructure, and cybersecurity. It

25   further knew or should have known that if hackers breached its data systems, they would extract sensitive

26   data and inflict injury upon Plaintiff and the Class. Furthermore, Chegg knew or should have known

27   that if hackers accessed the sensitive data, the responsibility for remediating and mitigating the

28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                               13
               Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 15 of 22




 1   consequences of the breach would largely fall on individual persons whose data was impacted and

 2   stolen. Therefore, the Data Breach, and the harm it caused Plaintiff and the Class, was the foreseeable

 3   consequence of Chegg’s unsecured, unreasonable data security measures.

 4            59.   Additionally, Section 5 of the Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45,

 5   required Chegg to take reasonable measures to protect Plaintiff’s and the Class’s sensitive data and is a

 6   further source of Chegg’s duty to Plaintiff and the Class. Section 5 prohibits unfair practices in or

 7   affecting commerce, including, as interpreted and enforced by the FTC, the unfair act or practice by

 8   businesses like Chegg of failing to use reasonable measures to protect sensitive data. Chegg, therefore,

 9   was required and obligated to take reasonable measures to protect data it possessed, held, or otherwise

10   used. The FTC publications and data security breach orders described herein further form the basis of

11   Chegg’s duty to adequately protect sensitive information. By failing to implement reasonable data

12   security measures, Chegg acted in violation of § 5 of the FTCA.

13            60.   Chegg is obligated to perform its business operations in accordance with industry

14   standards. Industry standards are another source of duty and obligations requiring Chegg to exercise

15   reasonable care with respect to Plaintiff and the Class by implementing reasonable data security

16   measures that do not create a foreseeable risk of harm to Plaintiff and the Class.

17            61.   Finally, Chegg assumed the duty to protect users’ sensitive data by soliciting, collecting,

18   and storing users’ data and, additionally, by representing to consumers that it “takes commercially

19   reasonable security measures to protect the Personal Information submitted to [it].”

20            62.   Chegg breached its duty to Plaintiff and the Class by implementing unreasonable data

21   security measures that it knew or should have known could cause a Data Breach. Chegg knew or should

22   have known that hackers might target sensitive data that Chegg solicited and collected on its users and,

23   therefore, needed to use reasonable data security measures to protect against a Data Breach. Indeed,

24   Chegg acknowledged it was subject to certain standards to protect data and utilize other industry

25   standard data security measures. Chegg, furthermore, represented to users that their data was safe with

26   Chegg.

27
28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                               14
                Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 16 of 22




 1            63.     Chegg was fully capable of preventing the Data Breach. Chegg, as a smart technology

 2   based company, knew or should have known of data security measures required or recommended by the

 3   FTC, state laws and guidelines, and other data security experts which, if implemented, would have

 4   prevented the Data Breach from occurring at all, or limited and shortened the scope of the Data Breach.

 5   Chegg thus failed to take reasonable measures to secure its system, leaving it vulnerable to a breach.

 6            64.     As a direct and proximate result of Chegg’s negligence, Plaintiff and the Class have

 7   suffered and will continue to suffer injury, including the ongoing risk that their data will be used

 8   nefariously against them or for fraudulent purposes.

 9                                                   COUNT II

10                                               Negligence Per Se

11            65.     Plaintiff repeats and re-alleges the allegations contained in every preceding paragraph as

12   if fully set forth herein.

13            66.     Chegg’s unreasonable data security measures and constitute unfair or deceptive acts or

14   practices in or affecting commerce in violation Section 5 of the FTC Act.37 Although the FTC Act does

15   not create a private right of action, both require businesses to institute reasonable data security measures

16   and breach notification procedures, which Chegg failed to do.

17            67.     Section 5 of the FTCA, 15 U.S.C. §45, prohibits “unfair. . . practices in or affecting

18   commerce” including, as interpreted and enforced by the FTC, the unfair act or practice by businesses

19   like Chegg of failing to use reasonable measures to protect users’ sensitive data. The FTC’s complaint

20   against Chegg also forms the basis of Chegg’s duty.38

21            68.     Chegg violated Section 5 of the FTC Act by failing to use reasonable measures to protect

22   users’ personally identifying information and sensitive data and by not complying with applicable

23   industry standards. Chegg’s conduct was particularly unreasonable given the sensitive nature and

24   amount of data it stored on its users and the foreseeable consequences of a Data Breach should Chegg

25   fail to secure its systems.

26
27   37
          In the Matter of CHEGG, INC., a corporation, supra note 6.
     38
28        Id.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                15
              Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 17 of 22




 1          69.     Chegg’s violation of Section 5 of the FTC Act constitutes negligence per se.

 2          70.     Plaintiff and the Class are within the class of persons Section 5 of the FTCA (and similar

 3   state statutes) was intended to protect. Additionally, the harm that has occurred is the type of harm the

 4   FTC Act (and similar state statutes) was intended to guard against. The FTC has pursued over fifty

 5   enforcement actions against businesses which, because of their failure to employ reasonable data

 6   security measures and avoid unfair and deceptive practices, caused the same type of harm suffered by

 7   Plaintiff and the Class.

 8          71.     As a direct and proximate result of Chegg’s negligence per se, Plaintiff and the Class

 9   have suffered and continue to suffer injury.

10                                                  COUNT III

11             Violation of the California Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq.
                                            (Injunctive Relief Only)
12
            72.     Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein.
13
            73.     The Consumers Legal Remedies Act (“CLRA”) is liberally construed to protect
14
     consumers against unfair and deceptive business practices in connection with the conduct of businesses
15
     providing goods, property or services to consumers primarily for personal, family, or household use.
16
            74.     Chegg is a “person” as defined by the CLRA, and it provided “services” as defined under
17
     the act. Cal. Civ. Code §§ 1761(b)-(c), 1770.
18
            75.     The CLRA prohibits a defendant who is involved in a transaction from “[r]epresenting
19
     that goods or services have sponsorship, approval, characteristics, ingredients, uses, benefits, or
20
     quantities which they do not have.” Id. at § 1770(a)(5).
21
            76.     Additionally, the CLRA prohibits a defendant who is involved in a transaction from
22
     “[r]epresenting that goods or services are of a particular standard, quality, or grade . . . if they are of
23
     another.” Id. at § 1770(a)(7).
24
            77.     Plaintiff Keller and the Class members are “consumer[s]” as who were engaged in a
25
     “transaction” under the act. Id. at §§ 1761(d)-(e), 1770.
26
27
28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                 16
              Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 18 of 22




 1          78.     Chegg’s acts and practices were intended to and did result in the sales of services to

 2   Plaintiff and the Class members in violation of Civil Code § 1770, including, but not limited to, the

 3   following:
            a. Implementing and maintaining cybersecurity and privacy measures that were knowingly
 4              insufficient to protect Plaintiff Keller’s and the Classes’ sensitive data, which was a direct
                and proximate cause of the Data Breaches;
 5
            b. Failing to identify foreseeable security and privacy risks, remediate identified security and
 6             privacy risks, and adequately improve security and privacy measures despite knowing the
               risk of cybersecurity incidents, which was a direct and proximate cause of the Data Breaches;
 7
            c. Failing to comply with common law and statutory duties pertaining to the security and
 8             privacy of Plaintiff Keller’s and Class members’ sensitive data, including duties imposed by
               the Federal Trade Commission Act, 15 U.S.C. § 45, which was a direct and proximate cause
 9             of the Data Breaches;
10          d. Omitting, suppressing, and concealing the material fact that they did not reasonably or
               adequately secure Plaintiff Keller’s and Class members’ sensitive data; and
11
            e. Omitting, suppressing, and concealing the material fact that they did not comply with
12             common law and statutory duties pertaining to the security and privacy of Plaintiff Keller’s
               and Class members’ sensitive data, including duties imposed by the Federal Trade
13             Commission Act, 15 U.S.C. § 45.
14
            79.     Chegg’s omissions were material because they were likely to and did deceive reasonable
15
     consumers about the adequacy of Chegg’s data security and ability to protect the confidentiality of
16
     consumers’ sensitive information that Chegg solicited, collected, and stored.
17
            80.     Had Chegg disclosed, rather than concealing, to Plaintiff and class members that their
18
     cybersecurity, digital platforms, and data storage systems were not secure and, thus, vulnerable to attack,
19
     Chegg would have been unable to continue in business and would have been forced to adopt reasonable
20
     data security measures and comply with the law.
21
            81.     Instead, Chegg received, maintained, and compiled Plaintiff’s and class members’
22
     sensitive data as part of the services Chegg provided and for which Plaintiff and class members paid, in
23
     part, through transaction fees by (1) omitting and concealing information from Plaintiff Keller and Class
24
     members that Chegg’s data security practices were knowingly insufficient to maintain the safety and
25
     confidentiality of Plaintiff’s and class members’ sensitive data and (2) that Chegg was not compliant
26
     with basic data security requirements and best practices to prevent a Data Breach. Accordingly, Plaintiff
27
28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                17
                Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 19 of 22




 1   Keller and the Class members acted reasonably in relying on Chegg’s omissions, the truth of which they

 2   could not have discovered.

 3             82.    On November 8, 2022, Plaintiff Keller and the Class sent notice to Chegg in compliance

 4   with California Civil Code § 1782(a) via certified mail. Plaintiff and the other members of the Class

 5   seek only injunctive relief in this complaint, but will amend this complaint to seek damages if Defendant

 6   does not comply with the California Civil Code § 1782(a) notice.

 7                                                    COUNT IV

 8                               Violation of the California Civil Code § 1798.150
                                    (Actual Damages and Injunctive Relief Only)
 9
               83.    Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein.
10
               84.    Chegg is a corporation organized or operated for the profit or financial benefit of its
11
     owners with annual net revenues over $776.3 million in 2021 and between $830 and $850 million in
12
     2022.39
13
               85.    Chegg collects and stores consumers personal information, including sensitive and
14
     personal information, as defined by Cal. Civ. Code § 1798.81.5.
15
               86.    Chegg had a duty to implement and maintain reasonable security procedures and
16
     practices to protect Plaintiff Keller’s and members of the Class’s sensitive and personal data.
17
               87.    Chegg failed to meet its duty, resulting in unauthorized access and exfiltration, theft, or
18
     disclose of Plaintiff Keller’s, and the Class’s, personal and sensitive data in violation of § 1798.150.
19
               88.    Plaintiff Keller and members of the Class seek relief pursuant to § 1798.150(a), including
20
     inter alia, actual damages, injunctive relief, and any other relief this Court deems proper. Plaintiff Keller
21
     and the Class also seek attorneys’ fees and costs pursuant to Cal. Code Civ. Proc. § 1021.5. Plaintiff
22
     does not seek statutory damages in this complaint.
23
               89.    On November 8, 2022, Plaintiff Keller and the Class sent notice to Chegg in compliance
24
     with California Civil Code § 1798.150(b) via certified mail. Plaintiff and the other members of the Class
25
     seek only actual damages and injunctive relief in this complaint, but will amend this complaint to seek
26
     statutory damages if Defendant does not comply with the California Civil Code § 1798.150(b) notice.
27
     39
28        Chegg Investor Relations, supra note 26.
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                   18
              Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 20 of 22




 1          90.       Because Chegg is still in possession of Plaintiff Keller’s, and the other members of the

 2   Class’s, sensitive and personal data, Plaintiff Keller seek injunctive or other equitable relief to ensure

 3   that Chegg implements and maintains reasonable data security measures and practices to prevent an

 4   event like the Data Breach from occurring again.

 5                                                   COUNT V

 6                                        Declaratory and Injunctive Relief

 7          91.      Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein.

 8          92.      Under the Declaratory Judgment Act, 28 U.S.C. §§2201, et seq., this Court is authorized

 9   to enter a judgment declaring the rights and legal relations of the parties and grant further necessary

10   relief. Furthermore, the Court has broad authority to restrain acts, such as those alleged herein, which

11   are tortious, and which violate the terms of the federal and state statutes described above.

12          93.      An actual controversy has arisen in the wake of the Data Breaches at issue regarding

13   Defendant’s common law and other duties to act reasonably with respect to safeguarding the data of

14   Plaintiff and the Class.      Plaintiff alleges Chegg’s actions in this respect were inadequate and

15   unreasonable and, upon information and belief, remain inadequate and unreasonable. Additionally,

16   Plaintiff and the Class continue to suffer injury due to the continued and ongoing threat of additional

17   fraud against them or on their accounts.

18          94.      Pursuant to its authority under the Declaratory Judgment Act, this Court should enter a

19   judgment declaring, among other things, the following:

20                a. Chegg owed, and continues to owe a legal duty to secure the sensitive information with
                     which it is entrusted, specifically including information it obtains from its customers, and
21                   to notify impacted individuals of the Data Breach under the common law, Section 5 of
                     the FTC Act;
22
                  b. Chegg breached, and continues to breach, its legal duty by failing to employ reasonable
23                   measures to secure its customers’ personal information; and
24                c. Chegg’s breach of its legal duty continues to cause harm to Plaintiff and the Class.
25          95.      The Court should also issue corresponding injunctive relief requiring Chegg to employ

26   adequate security protocols consistent with industry standards to protect its users’ and employees’ (i.e.,

27   Plaintiff’s and the Class’s) data.

28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                  19
              Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 21 of 22




 1           96.      If an injunction is not issued, Plaintiff and the Class will suffer irreparable injury and

 2   lack an adequate legal remedy in the event of another breach of Chegg’s data systems. If another breach

 3   of Chegg’s data systems occurs, Plaintiff and the Class will not have an adequate remedy at law because

 4   many of the resulting injuries are not readily quantified in full and they will be forced to bring multiple

 5   lawsuits to rectify the same conduct. Simply put, monetary damages, while warranted to compensate

 6   Plaintiff and the Class for their out-of-pocket and other damages that are legally quantifiable and

 7   provable, do not cover the full extent of injuries suffered by Plaintiff and the Class, which include

 8   monetary damages that are not legally quantifiable or provable.

 9           97.      The hardship to Plaintiff and the Class if an injunction does not issue exceeds the hardship

10   to Chegg if an injunction is issued.

11           98.      Issuance of the requested injunction will not disserve the public interest. To the contrary,

12   such an injunction would benefit the public by preventing another data breach, thus eliminating the

13   injuries that would result to Plaintiff, the Class, and the public at large.

14                                             PRAYER FOR RELIEF

15           99.      Wherefore, Plaintiff, on behalf of himself and the Class, requests that this Court award

16   relief as follows:

17                 a. An order certifying the class and designating Plaintiff as the Class Representative and
                      their counsel as Class Counsel;
18
                   b. An award to Plaintiff and the proposed Class members of damages with pre-judgment
19                    and post-judgment interest (except for the claim for violation of the CLRA, which only
                      seeks injunctive relief in this complaint, and the claim for violation of section 1798.150
20                    of the California Civil Code, which only seeks actual, but not statutory damages in this
                      complaint);
21
                   c. A declaratory judgment in favor of Plaintiff and the Class;
22
                   d. Injunctive relief to Plaintiff and the Class;
23
                   e. An award of attorneys’ fees and costs as allowed by law; and
24
                   f. An award such other and further relief as the Court may deem necessary or appropriate.
25
26
27
28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                                  20
            Case 5:22-cv-06986-SVK Document 1 Filed 11/08/22 Page 22 of 22




 1                                       JURY TRIAL DEMANDED

 2         Plaintiff hereby demands a jury trial for all the claims so triable.

 3                                                REESE LLP
 4   Dated: November 8, 2022                      /s/ Michael R. Reese
                                                  Michael R. Reese
 5                                                mreese@reesellp.com
                                                  Sue J. Nam
 6                                                snam@reesellp.com
                                                  100 West 93rd Street, 16th Floor
 7                                                New York, New York 10025
                                                  Telephone: (212) 643-0500
 8
                                                  REESE LLP
 9                                                George V. Granade (Cal. State Bar No. 316050)
                                                  ggranade@reesellp.com
10
                                                  8484 Wilshire Boulevard, Suite 515
11                                                Los Angeles, California 90211
                                                  Telephone: (310) 393-0070
12
                                                  ZIMMERMAN REED LLP
13                                                Caleb Marker
                                                  caleb.marker@zimmreed.com
14                                                6420 Wilshire Blvd., Suite 1080
                                                  Los Angeles, California 90048
15                                                Telephone: (877) 500-8780

16                                                ZIMMERMAN REED LLP
                                                  Brian C. Gudmundson
17                                                bgudmundson@zimmreed.com
                                                  Rachel K. Tack
18                                                rachel.tack@zimmreed.com
                                                  Michael J. Laird
19                                                michael.laird@zimmreed.com
                                                  1100 IDS Center
20                                                80 South 8th Street
                                                  Minneapolis, Minnesota 55402
21                                                Telephone: (612) 341-0400
22
23                                                Counsel for Plaintiff and the Class
24
25
26
27
28
     CLASS ACTION COMPLAINT
     CASE NO. 22-CV-6986                                                                          21
